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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA

INDIANAPOLIS DIVISION
IN RE:
Scott Darrell Hall CASE NO. 17-07950-JMC-7
CHAPTER 7
Debtor

MOTION FOR ORDER AUTHORIZING
ABANDONMENT AND MODIFYING AUTOMATIC STAY

Comes now U.S. Bank National Association as Legal Title Trustee for Truman 2016 SC6 Title Trust, ("Creditor"),
by and through its attomey, Codilis Law, LLC, and in support of its Motion for Order Authorizing Abandonment
and Modifying Automatic Stay, states as follows:

l. The Creditor is the holder of a mortgage on the property located at 5987 Gadsen Drive, Plainfield, IN
46168-7532.

2. The Creditor holds a security interest in said property by way of written instruments, which were perfected
as provided by law. True and exact copies of said instruments, with proof of perfection, are attached hereto
and made a part hereof`.

3. As of November 28, 2017 the payoff amount is $174,490.77 and the interest rate is 6.00000% per annum.

4. Schedule D lists other secured creditors with claims totaling $266.00 against the real estate.

5. The real estate is valued at $128,300.00 on the bankruptcy schedules.

6. The debtor does not claim an exemption with respect to the subject property.

7. The Statement of Intention calls for surrender of the real estate to Creditor. The automatic stay should be
modified pursuant to ll U.S.C. §362(d)(l).

8. Said property is of inconsequential value and benefit to the estate and should be abandoned from the
bankruptcy estate pursuant to ll U.S.C. §554(b).

9. The creditor hereby waives the right under l l U.S.C. §362(e) to a hearing on this motion within thirty (30)
days of the date it is filed.

WHEREFORE, this Creditor requests that:
l. 'I`he Automatic Stay of this proceeding be terminated as to this Creditor, its agents, successors and assigns.

2. The subject property be abandoned from the bankruptcy estate.

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3. That the Court waive the fourteen day stay of the Order granting this motion, pursuant to Bankruptcy Rule
4001(a)(3); and

4. For any and all otherjust and proper relief that the Court sees fit.

Attomeys for Creditor

By; °%;~<»1;*\ f liw/Ul/‘Aé“;

Kristin L. Durianski 24866-64
Codilis Law, LLC
Atty File: 1025804

 

This firm is deemed to be a debt collector.

CERTIFICATE OF SERVICE

I certify that on 2 iM“b@/ZO/‘;U/?, a copy of the attached was filed electronically. Notice of this filing will be

sent to the following parties through the Court‘s Electronic Case Filing Systern. Parties may access this filing
through the Court's system.
Brent Welke; brentwelke@att.net

Jenice Golson Dunlap; jgolsondunlap@gmail.com
United States Trustee, S.D., lN; ustpregionl0.in.ecf@usdoj.gov

I further certify that on WM/l&(/?o 20/ ,7a copy of the attached was mailed by depositing in the U.S. Mail to
the following:

Scott Darrell Hall
5987 Gradsen Drive
Plainfield, IN 46168

 

Attomeys for Creditor

By; akrawi/icf dwi/mazza

Kristin L. Durianski 24866-64

 

Codilis Law, LLC

8050 Cleveland Place
Merrillville, lN 46410
(219) 736-5579
bankruptcy@codilis.com
Atty File: 1025804

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COUNTRYH[DE HDME LDANS. INC.
MS SV-79 DUCUMENT PROCESSING
1800 Tapo Canyon

S'|mi Va\'ley. CA 93063-5712

 

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State ol‘ lnd|ana MORTG AGE
M[N_

THIS MORTGAGE ("Securily Inso'umcnl") is given on HA¥ 24 . 2002 . The Mongagor is
SCOTT D HALL.

("Botmwer"). This Security lnso'ument is given to Murtgage E!er:tmnic Registtatinn Systems. lnc. ('MERS"), (solely as nominee
for Lender, as hereinafter dei'med. and Lender's successors and assigns), as mongagec. MERS is organized and existing under the
laws of Del.aware. and has an address and telephone number of P.O. Box 2026. F[int, MI 48501-200.6. leL (888) 679~MER.S.
CDUNTRYHIDE HDHE LOANS. INC. ,
(”Lender”) is organized and existing under the laws ol' NEH YORK ,andhasanaddrmsof
4500 Park Granada. Calabasas. CA 91302-1613 _
Borrower owes Lender the principal sum al`

ONE HUNDRED THENTY ONE THOUSAND EIGHT HUNDRED NINETY ONE and 00/100

Dollnrs (U.S. S 121 ,891.00 ). This debt is evidenced by Bonower's note dated the same date as this
Security lnsu'ument ("Note"). which provides for monthly paymcms. with die |`ull debt. if not paid earlier. due and payable on
JUNE 01 . 2032 . This Security lnsuument scores to Lender: (a) the repayment of the debt evidenced by the Note.
with interest and all ranewals, extensions and modifications of the Note: (b) the payment of all outer sums. with interest advanced
under paragraph 7 to protect the security of this Security lnstrument; and (c) the ped'onnanee of Bonower's covenants and
agreements under this Security instrument and the Note. For this purpose Borrnwer does hereby mortgage grant and convey to
MERS (solely as nominee for Lender and hender‘s successors and assigns) and to the successors and assigns to MERS. the

FHA lm:lllna Mortgl¢|e tullh NERS-I!Qd nntalr- ¢ § il -
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following amoco property located inHENDRlCKS County. lndiana:

LOT NUMBERED BB IN GLEN HAVEN. SECTION TNO. AN ADDITION TC| THE TOHN OF
PLAINFIELD. HENDRICKS COUNTY. INDIANA. AS PER PLAT THEREOF, RECORDED
MARCH 20, 2000. IN PLAT CABINET 3. SLIDE 60. PAGES 2a AND ZB. [N THE
OFFICE OF THE RECDRDER OF HENDRICKS CDUNTY. INDIANA.

whichhastheaddressof
5987 GADSEN UR. FLAINF[ELD .
|Slreet.Clty]
brdiana46168~7532 ("Propcrty Addrms”);
[leCode]

TOGEI'l-ER Wl'|'l-l all the itrtprovernents now or hcrml'lcr erected on the property. and all easements, appurtenances and
lixmres now or hereafter a part of the pwpmy. All replacements and additions shall also be covered by this Securiry Irtstt-ttment.
All of the foregoing is referred to in this Security Instrtunent as the "Propcrty." Borrower understands and agrees that MIERS
holds only legal title to the interests granted by Borrower in this Sectuity instrument but. if necessary to comply with law or
custom, MERS. (as nominee for bender and l.ender's successors and assigns). has the right: to exucise any or all ol' those interests.
including. but not limited to, the right to foreclose and sell t.lte Propcrry; and to take any action required of lender including. but
not limited to. telmsing or canceling this Set:urity instrument

BORROWER COVENANTS that Borrower is lawfully seized of the estate hereby conveyed and has the right to mortgage
grant and convey the Property and that the Pmperty is unencumbered. except for encumbrances of record. Borrower warrants and
will defend generally the title to the Property against all claims and demands. subject to any encumbrances of record.

THIS SECURITY lNSTRUMENT combines uniform covenants for national use and non-unitonn covenants with limited
variations by jurisdiction to constitute a uniform security irtsanment covering real property.

Borrower and Lender covenant and agree as follows:

UNU=ORM COVENANTS.

l. hyment of Prirrripal, lnterest and Late Charge. Borrower shall pay when due the principal of. and interest on, the debt
evidenced by the Note and late charges due under the Notc.

2. Mont.hly Paymenl ot Taxes, Insurance and Ottter Cbarges. Borrower shall include in each monthly payment together
withtheprineipal andintermtassetfotthin theNote andanylsrechargcs.asum for(a)taxesand specialassessments leviedorto
be levied against the Ptoperty. (b) leasehold payments or ground rents on the Propetty, and (c) premiums for irtstuance required
under paragraph 4. in any year in which the I.ender must pay a mortgage insurance premium to the Secretary of Housing and
Urban Devcloprnent (”Sccretary”). or in any year in which such premium would have been required ithmder still held the Sccurity
lnsnnment. each monthly payment shall also include either: (i) a sum for the annual mongage irtstnance premium to be paid by
lender to the Secrctary. or (d) a monthly charge instead of a mortgage insurance premium if this Securiry lnstrumertl is held by thc
Seeretary. in a reasonable amount to be determined by the Secretary. Etcept for the monthly charge by the Secretary, these items
arealled "Escrow ltcms" and thesumspaid to Lendcrareeallcd ”Escrow Funds."

bender may. at any time. collect and hold amounts for Escrow Items in an aggregate amount nor to carmd the maximum
amount that may be required for Borrower’s escrow amount under the Real Estatc Scttlctnent Procedures Act of 1974, 12 US.C.
Section 2601 er req. and implementing rcgulalions, 2A CFR Pan 3500. as they may be amended from time tn time ("RESPA").
except that the cushion or reserve pertained by RESPA for unanticipated disbursements or disbursements before the Borrower's
payments are available in the account may not be based on arnounls due for the mortgage insurance premium.

l.f the amounts held by Lendcr for E.scrow llerns exceed the amounts permitted to be held by RESPA. bender shall account to
Borrower for thc excess funds as required by RF.SPA. If the amoun¢ of funds held by bender at any time are not sufficient to pay
the Escrow items when duc, Lcndcr may notify the Borrower and require Borrower lo make up the shortage as permitted by
RESPA.

The Eserow Funds are pledged as additional security for all sums sccured by this Seeurity lnsnurrtem. lf Borrower tenders to
Lcnder the full payment of all such sums, Borrower's account shall be credited with lite balance remaining for all installment items
(a), (b}. and (c) and any mortgage insurance premium instanth that Lcnder has not become obligated to pay to the Secretary, and
I.render shall promptly refund any streets funds to Borrower. lmmediately prior to a foreclosure sale of the Propcrty or its
acquisition by Lender, Borrower"s account shall be credited with any balance remaining for all irtstallmcnta for items (a). fb). and
(c).

3. Appllcatlon of Payments. All payments under paragraphs l and 2 shall be applied by Leoder as follows:

E;§|,,todtemortgageinsurancepremiurn to bepaidby I..endertotheseeretaryortothemonlhly chargeby dteSecretary
instead of the monthly mortgage insurance prerniun't;

ingram to any taxes. special assessments, kasehold payments or ground rents. and fue, llcod and outer hazard insurance
premiums, ns rcqu`a'cd;

l'hinl. to interest due under the Nou:;

Eq,unh. to amortization of the principal of the Note; and

E.[th,tolatechargesducunderlheNote.

4. Fire. Flood and other l-lazard lnstrrancc. Borrower shall insure all improvements on the Pmperty. whether now irl
existence or subsequently cteeted, against any hazards, carualties. and eontingeneics. including dre, for which bender requires
insurance 'I'his instn'ancc shall be maintained in lheamountsand for die puiods that Lcnder requires Borrowershall also insureall

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improvements orr the Property. whether now in existence or subsequently uccted, against loss by floods to the extent required by
the Sectctary. All insurance shall be carried with companies approved by Lcndcr. 'I'he insurance policies and atty renewals shall be
held by bender and shall include loss payable clauses in favor of, and in a form acceptable to. l.endcr.

ln the event of loss. Borrower shall give Lcnder immediate notice by mail. Lendt: may make proof of loss if not made
promptly by Borrower. Each insurance company concerned is hereby authorized and directed to make payment for such loss
directly tn lender, instead ofrn Borrower and to Lendt:jointly. All or any partofthe insuranceproceeds may be applied by
Lendcr. at irs option, either (a) to the reduction of the indebtedness under the Note and this Ser:urity lnstrument. l'rrst to any
delinquentarnountsappliedin theorderin paragraph 3,andthen toprcpaymuttofprincipal,or(b) rotheraslorarionorrepairof
the damaged Properry. Any application of the proceeds to the principal shall not extend or postpone the due date of the monthly
payments which are referred to in paragraph 2. or change the amount of such payments Any excess insta'ance procmds over art
amount required to pay all outstanding indebtedness under the Note and this Security Instrument shall be paid to the entity legally
entitled llteteto.

In the event of foreclosure of this Security Instrtu'nent or other transfer of title to the Ptoperty that extinguishes ute
irrdehtedncss. all right1 title and interest of Borrower in and to insurance policies in force shall pam to the purchased

5. Ocr:upancy. Preservation, Malntenanoe and Proter:tlon of the Property; Borrower’s Loan Appllcation; Leaseholda.
Borrower shall occupy. establish. and usc tire Propcrty as Borrower's principal residence within sixty days after the execution of
this Security Insn'umcat (or within sixty days of a later sale or u'anst’er of the Property) and shall continue to occupy the Property as
Borrower’s principal midence for at least one year after the data of occupancy. unless Lcnder determines that requirement will
cause undue hardship for Borrower. or unless extertuadng circumstancm exist which are beyond Bormwer's connol. Borrower
shall notify lender of lay extenuating circumstances Borrower shall not commit waste or dastrny. damage or substantially change
tlrePropertyorallowthePropertyrodereriorare.reasonablewearondtearexccpted.LendertnayinspactthePropcnyifthe
Propcrry is vacant or abandoned orthe loan is in dcfaulr. Lenrlerrrtay takereasonablcacn`on to protectand pti-serve such vacantor
abandoned Property. Borrower shall also be in default if Borrower. during the loan application process, gave materially false or
inaccurate information or statemmts to I.cnder {or failed to provide l..ender with any matuial information) in connection with the
loan evidenced by the Note. including, but not limited to. representations concurring Borrower’s occupancy of the Propcrty as a
principal residence lf this Sccurity lnstrumcnt is on a leasehold. Borrower shall comply with the provisions of the lease. ll
Borrower acquires fee title to the Property, the leasehold and fee title shall not be merged unless lender agrees to the merger in
writing.

6. Cottdemoatlon. 'llre proceeds of any award or claim for damages, direct or conscquential, in connection with any
condemnation or other taking of any part of tlte Property. or for conveyance in place of condemnation, arc hereby assigned and
shall be paid to L.ender to the extent of the full amount of the indebtedness that remains unpaid under the Note and this Securiry
lnstrumcnr. Lcnder shall apply such proceeds to the reduction of the indebtedness under tire Note and this Secun`ty lnstrument, i'trst
tn atty delinquent amounts applied in the order provider in paragraph 3. and then to prepayment of principal Atty application of
thc proceeds to the principal shall not extend or postpone tire due date of the monthly paymenrs. which are referred to in paragraph
2. or change the amount of such paymcnrs. Any excess proceeds over an amount required to pay all outstanding indebtedness
under the Note and this Security lnstrumcnt shall be paid to the entity legally entitled thercto.

7. Charges to Borrower and Proter:tiott of Lendar's nghts la the Property. Borrower shall pay all govunmental or
municipal charges, fines and impositions that arc not included in paragraph 2. Borrower shall pay these obligations on time directly
to the entity which is owed ute payment If failure to pay would adversely affect Lender°s interest in the Property. upon Lendcr's
request Borrower shall promptly furnish to lender receipts evidencing than payments

If Borrower fails to make these payments or the payments required by paragraph 2, or fails to perform any other coverinan
and agreements contained in this Securiry Instrurrtent. or there is a legal proceeding that may significantly affect l..ender's rights in
the Property (sttch as a procwding in banlo'uptcy. for condemnation or to enforce laws or regulations). their Leodt:' may do and
pay whatever is necessary to protect the value of the Prope'ty and lender's rights in the Propcrry, including payment cf taxcs.
hazard inst.tt'ance artd adm items mentioned in paragraph 2.

Any amounts disbursed by Lurder under this paragraph shall become an additional debt of Borrower and be seemed by this
Security lnstrumenr. Thesc amounts shall bear interest from the date of disbursement, st the Note rate. and at the option of Lender.
shall be immediately due and payable.

Borrower shall promptly discharge any lien which has priority over this Socuriry lnsn'ument unless Borrower: (a) agrees in
writing to the payment of the obligation secured by the lien in a manner acceptable tol.enrkr; (b) contests in good faith thc lien by.
or defends against enforcement of the lien in. legal proceedings which in the Lendcr's opinion operate to prevent the enforcemart
of the Iien: or (c) secures from the holder of the lien an agreement satisfactory to Lendr:r subordinating the lien to this Ser:urity
Instrumcnt. li' bender detumines that any part of the Property is subject to a lien which may attain priority over this Security
lnstrument, lender may give Borrower a notice identifying the lien. Borrower shall satisfy the lien or take one or more of tlte
actions set forth above within 10 days of the giving of notice.

8. Fees. Lcnder tnay collect fed and charges authorized by the Sccretary.

9. Grounda for Ar:celeratlon of Debt.

(a) Del'ault. bender may. except as limited by regulations issued by the Secrctary, in the case of payment dcfaults. require
immediate payment in full of all sums secured by this Securiry lnstrumettt if:
(i) Borrower defaults by failing to pay in full any monthly payment required by this Secttrity instrument prior to or on
the due date of the next monthly payment, or
(li) Borrower defaults by failing, for a period of thirty days, to pu'forrn any other obligations contained in this Sccurity
lnsn'tunenr.
(b] Sale Wlllrout Credlt Approval. Lender shall, if permitted by applicable law (including Sectitm 341(d) of the Gam-St.
Gennain Depositcry lnstitt.rtt'ons A.ct of 1982. l2 U.S.C. l'lOlj-$(d)) and with thc prior approval of the Sccrcrary. require
immediate payment in full of all sums secured by this Socurity Instrument if:
(i) AllorpanoftltePropetry.orabcrrel'tcial interestin rr rrustowoingallorpartoftheProperry.issoldororherwise
transferred (olher than by devise or dwccnl). and
(ii) The Property is not occupied by the purchaser or grantee as his or her principal residence or the
purchaser or grantee does so occupy the Ptoperry but his or hcrcrcdit has not been approved in accordance with the
requirements of the Sccrelary.
(c) No Walver. If circumstances occur that would permit i..cnda to require immediate payment in full, but Lcnder does
not require such paymenrs. lender does not waive its rights with respect to subseqth evcnts.

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(tl) tregulatlons or HUD Secretary. In many circumstances regulations issued by the Secretary war urnrt L.ender's rights,
in tire case of payment defaults, to require immediate payment in full and foreclose if not paid. This Securiry instrument
does not authorize acceleration or foreclosure if nor pertained by regulations of the Secretary.
(e) Mortgttge Not lnsrrred. Borrower agrees that if this Sectrrity lnstrtunent and the Note are not determined to be eligible
for insurance under the National Housing Act within 60 days from tlte date hereof, lender ntay, at its option. require
immediate payment in full of all sunts secured by tltis Security instrument A written statement of any authorized agent of
the Secretary dated subsequent to 60 days from the date hereof. declining to instne this Security Insn'trment and the Note,
shall be deemed conclusive proof of such ineligibility. Notwitltstanding tlte foregoing. this option may not be exercised by
bender when tlte unavailability of irrsrnance is solely due to lender's failure to remit a mortgage insurance premium to the
Secrctary.
10. Relnstatement. Borrower has a right to be reinstated if lender has required immediate payment in full because of
Borrower‘s failure to pay an amount due under the Note or this Secur'ity lnstrument. This right applies even after foreclosure
proceedings are instituted. ’l`o reinstate the Security lnsn'ament. Borrower shall tender in a lump sum all amounts required to bring
Borrower's account current lncluding, to the extent they are obligations of Borrower under this Security Instrument, foreclosure
costs and reasonable and customary attorncys' fees and expenses properly associated with the foreclosure procwding. Uporr
reinstatement by Borrowcr. this Secur'ity instrument and the obligations that it accrues shall remain in effect as if lender had not
required immediate payment in fu|l. However. lender is not required to permit reinstatement if: (i) lender has accepted
reinstatement alter the conunertcetnent of foreclosure proceedings within two years immediately preceding the commencement of a
current foreclosure preemcling. (ir) reinstatement will preclude foreclostne on different grounds in the fumre, or (iii) reinstatement
will adversely affect the priority of the lien created by this Secur‘ity Instrument.

lI. Borrower Not Relettsed; Forboaranee By l.ender Nnt a Walver. Extension of the time of payment or modification of
amortization of the sums secured by this Security lnstnunerrt granted by Lcndcr to any successor in irreer of Borrower shall not
operate to relmse the liability of the original Borrower or Borrower's successor in interest Lender shall not be required to
commence procmdings against any successor in interest or refuse to extend time for payment or otherwise modify amortization of
the sums mcured by this Securiry lrtsrrumcm by reason of any demand made by tlte original Borrower or Borrower's successors in
interest Any forbearance by lender in exercising any right or remedy shall not be a waiver of or preclude the exercise of any right
or remedy.

12. Sueee'.sors and Asalgns Bound; Jolnt and Sever-al thillty; Co-Signera. The covenants and agreements of this
Security Instrument shall bind and berrth the successors and assigns of bender and Borrower, subject to the provisions of
paragraph 9(b). Borrower's covenants and agreements shall be joint and several Any Borrower who co-signs this Security
Insn'urnent but does not execute the Note: (a) is co-signing this Security instrument only to mortgagel grant and convey dtat
Borrower's interest in the Property under the terms of this Security lrrsuument‘. ('b) is not personally obligated to pay the sums
secured by this Security lttsn'ument; and (c) agrees that Lender and any other Borrower may agree m extend, modify. forbear or
make any accommodations with regard to tlte terms of this Sccurity instrument or the Note without that Borrower's consenL

13. Notieas. Any notice to Borrower provided for in this Security lnstrumerrt shall be given by delivering it or by mailing it
by ftrstclassrnail unlessapp|icable law requires useofanothermcthod. '11re notice shall bedirectedtothcl’ropcnyAddrcssorany
otheraddrcssBorrowerde'tignates bynotieetoLender.Any noticetolendershallbegivenby lirstclassmailto Lender'saddress
stated herein or any address Lcnder designates by notice to Borrower. Any notice provided for in this Security instrument shall be
deemed to have been given to Borrower or lender when givtot as provided in this paragraph.

14. Goverttlng l.aw; Severahllty. This Security lnsu'ument shall be governed by Federal law and the law of the jurisdiction
in which the Property is lomted. ln the event that any provision or clause of this Secttrity Instrument or the Note conflicts with
applicable law, such conflict shall not affect other provisions of this Security Instmrnent or the Note which can be given effect
without the conflicting provision. To this end the provisions of this Security lnstnrment and the Note are declared to be severable

15. Borrower’s Copy. Borrower shall be given one conformed copy of thc Note and of this Security Insn'ument.

16. l-Iazardous Substances. Borrower shall not cause or permit tl'te preacnce. use. disposal. storage, or release of any
Hazardous Substances on or in the Properqr. Borrower shall not do. nor allow anyone else to do. anything affu:t.ing the Propu'ty
that is in violation of any Environmcntal l.aw. 'Ilte preceding two sentences shall not apply to the presmce. use. or storage orr the
Property of small quantities of Ha:cardous Substanees that are generally recognimd to be appropriate to natural residential uses and
to maintatance of the Property.

Borrower shall promptly give lender written notice of any investigation. clairo, demand., lawsuit or other action by atty
governmental or regulatory agency or private party involving the Property and any Hawdous Substance or l:'.nvironmental law of
which Borrowu' has acntal knowledge lf Borrower learns. or is notified by atty governmental or regulatory authority. that any
removal or other remediation of any Hmrdous Substancea affecting the Propt:'ty is nccessary. Bm'rower shall promptly lake all
rmchnty remedial actions in accordance with Environrnentnl l.aw.

As used in this paragraph 16. "Hamrdous Substances" are those substances defined as toxic or hazardous substances by
Environmental law and the following substances: gasoline kerosene. other flammable or toxic petroleum products. toxic pesticides
and herbicides. volatile solvenu, materials containing asbestos or forrnaldehyde. and radioactive materials As used in this
paragraph 16, "Envireumer'rtal Law" means federal laws and laws of the jurisdiction where tlte Property is located that relate to
hcalth. safety or environmental protection

NON-UN]FORM COVl.-'.NANTS. Borrower and lender furtlter covenant and agee as follows:

17. assignment of Renls. Borrower unconditionally assigns and transfers to lender all the rents and revenues of the
Property. Borrower authorizes Lendcr or lender's agean to collect the rents and revenues and hereby directs each tettant of the
Propu'ty to pay the rents to Lender or Lender's agents However. prior to Lender's notice to Borrower of Borrower’s breach of any
covenant or agreement in the Securiry lnsn'ument. Borrower shall collect and receive all rents and revenues of the Pmpcrry as
trustee for the benefit of lender and Borrower. This assignth of rents ennstiutrts an absolute assignment and not an assignment
for additional security only.

lf lender gives notice of breach to Borrower: (a) all rents received by Borrower shall be held by Borrower as trustee for
bendit of Lendu only. to be applied to the sums seemed by the Secur'ity lnsmtrneol; (b) l.endcr shall be entitled to collect and
receive all of the rents of tlte Pmpeny: and (c) each tenant of tlte Prepetty shall pay all rents due and unpaid to Lender or l.ender's
agent on lender's written demand tn tire tenant

Borrower has not executed any prior assigrunenr of the rents and has not and will not perform any act that would prevart
Lcndm' from exercising irs rights under this paragraph l'l.

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bender shall not be required to utter opon, take control of or maintain thc Propcrty before or after gtvmg nouee of breach to
Borrower. Hnwever. Lender or a judicially appointed receiver may do so at any time there is a breach. Any application oi rents
shall notcure or waive any defaultor invalidate any other right or remedy of I.ender. ‘Ibis assignment of rents of the Pmperty shall
terminate when titcdebt secured by the Security Instruntent is paid in full.

18. Foreclosure Procednre. If l..ender requires immediate payment in hall under paragraph 9, Lender may foreclose
this Security lnstrontent by judicial proceeding Lender shall be entitled to collect all expenses incurred in pursuing the
remedies provided in this paragraph lli, lncluding, but nut limited to. reasonable attorneys’ res and costs ol' title evidence

ll the Lender's interest in this Securily Instrument is held by the Secrelary and the Secretary require immediate
payment in l‘ull under Paragraph 9. the Sccretary may lnvalte the nonjudicial power of sale provkled in the Single Famlly
Mortgage Foreclosnre Act of 1994 ("Ar:l") (12 U.S.C. 3751 et seq.) by requesting a foreclosure commksluner designated
under the Act to commcnee foreclosure and to sell the Property as provided in the Act. Nothing lo the preceding sentence
shall deprive the Secretary of any rights otherwise available to a Lander under this Paragrapb 18 or applicable lavr.

19. Release. Upnn payment ol' all sums secured by this Secutity lnsu'ument. Lendcr shall release this Srr:urity lnstrumcnt
without charge to Borrnwu'.

20. Walver or Valnation and Appraisement. Borrower waives all right of valuation and appraiseman

21. Rlders to this Secttrity lnstrutnent. ll one or more riders are executed by Borrower and recorded together with this
Security Instrutnent, the covenants of each such rider shall be btcorporated into and shall amend and supplement the covenants and
agreements of this Securiry Instrrunent as if tlte ridcr(s) were a part of this Secm'ity InstnnnenL

[cn=ck apputh bnx(es)t.
consummate aider |:| omwing inquiry aider IE| other tspecify]
alamo unit ncvcropmmr aide |:l Gmduamd Paymmt aider prme .¢ /14,; ,2 .a_~e

BY SlGNING BELOW. Borrower accepts and agrees to the terms contained in this Security Instrument and in any rider(s)
executed by Borrower and worded with il..

(Swl)

5 T AL -Btrrmwer

(5¢81)

-Bnrmw:r

 

(5¢31)

-Bcnmwer

 

(S¢B|)

-Bormer

 

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STATE OF muu\NA, '

Ma::.cn Couocy -:
O" lhis 24 day 01' my . 2002 . before mc, the undmriped, a Notmjy
Public in and for said Counly, pusonal!y appeared
Scott D. null
. and acknowledged l.he execution of the foregoing insuummt.
WITNESS my hand and official scal.

My Commisxion Bpires:

'lhis insmunr.tllwas prepared by: H. STARR
M.JOYCE CRABTREE
kal. 01 Fulnam L.'o.
wmm. £xp. 1u-2-2008

 

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PLANNED UNIT DEVELOPMENT RIDER

WHEN RECBRDED llACL TO: _ SPACE ABOVE FOF| HECORDERB USE
COU|"'RY\¢’!DE l'lUI‘\E LDA||S . INC.

MsN sv-?woocuMENT coNTnoL DEPT_ By: MELISSA STARR
P o. eox mass
vAN Nuvs_ cALlFoHNlA 91410-025s

___D°° '° '1___
EscnowrcLosme 1_

FHA CAS F ND

 

 

 

 

 

 

 

THIS PLANNED UNI'I` DEVELOPMENT RIDER is made this 24th day of my _ 2002 , and is
incorporated into and shall be deemed m amend and supplement lhe Morlga,ge. Dwd of Trnst or Securiry Deed
("Securicy lnsu'umem") of the same dale given by lhe undersigned ("Bormwer”) to secure Borrower‘s ane lo
dale given by the undersigned ("Bormwer"} lo secure Borrower's Nol: ("Nom") m
COUNTRYH] DE HOHE LOANS . INC .

("Lendcr") of lhe same dale and covering the Prnpeny described in the Securixy instrument and located aL'

5937 GADSEN DR. PLAINFIELD IN, 4?}}'§£';;§¢!362'=..|

Paga 1 cl 3 FH.A Multllute P Blder - lll!§
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The Properry Address is a part of a planned unit development ("PUD") known as

GLEN H'W EN ltv-m er terms unit D=v=l¢t=mwl

PUD COVENANTS. In addition to the covenants and agreemean made in the Sccurity insuranan
Bnn'owerandbendcrfunlter covenant andagreeas|’oilows:

A. So long as the Dwners Associacion (or equivalent entity holding title to eorrunon areas and
facilities). acting as trustee for the homeowners maintains. with a generally accepted insurance
can‘icr. a ”master" or "ltlartltet" policy insuring the property located in lite FUD. including all
improvements now existing or hereafter erected on the mortgaged prcmises, and such policy is
satisfactory to under and provides insurance coverage in the tunottnts, for the periods. and
against tile hazards lender requirt:, including l“tre and other hazards included within the term
"e:ttended coverage," and loss by flood, to the exmnt required by the Secrctary, thcn: (i) Lendcr
waives the provision in Paragraph 2 of this Security Instrument for the monthly payment to
Lender of one-twelfth ol;' the yearly premium installments for hazard insurance on the Propett.y.
and (ii) Bonotver's obligation under Pa.ragraph 4 of this Security instrument to maintain hazard
insurance coverage on the Fmperty is deemed satisfied to the extent that the required coverage is
provided by the Owners: Association poiicy. Borrower shall give bender prompt notice ol` any
lapse in required hazard :insruance coverage and of any loss occurring from a hazard. In the event
cf a diso'ibtttion of hazard insurance proceeds in lieu oi' restoration or repair following a loss to
the Property or tn common areas and facilities of the PUD. any proceeds payable to Bonower are
hereby assigned and shall be paid to bender for application to lite sums secured by this Security
Instnuncnt. with any exc¢as paid to the entity legally entitled thereto.

B. Borrower promises to pay all dues and assessments imposed pursuant to the legal instruments
creating and governing the FU'D.

C. ll Borrower does not pay PUD dues and assessinan when due, then bender may pay tltent. Any
amounts disbursed by Lcnder under this paragraph C shall become additional debt of llomswer
seemed by the Su:urity Iustrument. Unless Borrower and lender agree to other terms of payment,
these amounts shall bear interest from the date ot disbursement at the Note rate and shall be
payabie. with intense upon notice front I.ender tn Borrower requesting payment

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CASE #=_ m w t_

BV SIGNING BELOW, Borrower accepts and agrees to the terms and provisions contained in this PUD

Rirter.
M§J ,M rserrr)
oTT HALL -Bm'rwer

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ADJUSTABLE RATE RIDER

WI'|EN RECUHDED MA|L TO: _SPACE ABOVE FOR RECORDEF|S USE
COU||TRW|DE IlOHE LDANS. I|lC.
MSN SV- 79 l lZlO<§}LlBP¢IEN;I'ass ¢ONTF\OL DEPT. By: HELISSA STARR
P

VAN NUYS CAL|FOF\N|A 91410-0265

DOC |D l
ESCRQW!CLQS|NB l

l FHA cAsE No. '

THIS ADIUSTABLE RATE RIDER is made this 24th day of May , 2002 , and is
incorporaled into and shall be deemed m amend and supplement the Mortgagc. Deed of Trusl or Securily Deed
("Securily Inscmmmt,") of the same dale given by lhc undersigned (“Bomwcr") in secure Bonuw¢:r's Nolc co
CUUNTRVHIDE HOME LOANS , INL`.

(lh¢: "l.z.ndu”) of chc same damand covering the propmy described m lhc Securicy lnstrurncnl and laca¢cd al:
5987 GADSEN DR. PLAI NFIELD 1N.46168-7532

 

 

 

 

|l*rop¢r:y Addrcul
anl 1 ul 4 FHA Mulll¢lnte ARMR - 1N95
Qg-SB`|U (9705) 02 CHL (Cll»'°|l VMP MORTGAGE FDF|MS- (800)521- 7291 |nll|ali:_l$.§

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THE NOTE CONTAINS PF|OV|S|ONS ALLOW|NG FOR CHANGES lN THE
lNTEF|EST RATE AND THE MONTHLY PAYMENT. THE NOTE LlMlTS THE
AMOUNT THE BORROWER'S lNTEHEST F\ATE CAN CHANGE AT ANY ONE
TIME AND THE MAXIMUM HATE THE BORHOWEF| MUST PAY.

 

ADDlTIONAl. COVENAN`I'S. ln addition to the covenants and agreements made in the Security
I.nscmment, Borrowerandl.ender further covenant andagreeas follows:

INTERF$T RATE AND MONTHLY PAYMF.NT CHANGES

(A) Change Dale

The interstate may change on the t'trst day cf0ctcbar , 2003 ,and on lhatday cleach succeeding
year. "Change Dale" means each date on which the interest rate could change

) The lndex
(B:ginnlng with the first Change Date, the interest rare will be based on an lndea. ”lndett" means the weekly
average yield on United States 'Itcasm'y Securiries adjusted to a constant maturity of one year. as made available
by the Federal Reserve Board. "Current lndex" mu.ns the most recent lntlex figure available 30 days before the
Change Date. ll the lndex (as dcl'uted above) is no longer availablc. lender will areas a new Index any index
prescribed by the Secretary. As used in this Rider, "Set:letary means the Seeretary cf Housing and Urban
Devcloprnent or his cr her designee." l.ender will give Borrower notice of the new lndex.

(C) Calt:ulallon cf Interest Rate Cbanges

Befcre each Change Dare. bender will calculate anew interest rate by adding a margin of
THD lt THREE-GUARTERS percentage point(s)( 2 . 750 %) t.c the Ct.trrent Index and rounding
the sum to the nearest one-eighth of one percentage point (0.125%). Subject to the limits stated in paragraph (`D)
of this Rider. this rounded amount will be the new interest rate until the next Change Date.

(D) lelts on Inlerest Rat.e Changel

The existing interest rate will never irtet'mse cr decrease by more than one percentage point (1.0%) on any
single Change Date. The interesth will never be more than five percentage points (5.0%) higher or lower than
the initial intacstrate. as stated inparagraph 2 oftthott-,.

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(E) Caleu|atlon of l’ayment Change

ll the interest rate changes on a Change Date, l.ender will calculate the amount of monthly payment of
principal and interest which would be necessary to repay the unpaid principal balance in full at the Mntttrity Date
at the new interest rate through substantially equal payments ln making such calculation. Lender will use the
unpaid principal balance which would be owed on the Changc Date if there had been no default in payment on
the Note. reduced by the amount of any prepayments to principal. The result of this calculation will be the
amount of the new monthly payment of principal and interest

(F) Notice of Cltaoges

lender will give notice to Borrower of any change in tlte interest rate and monthly payrth amount. The
notice must be given at least 25 days before the new monthly payment amount is due. and must set forth (i) the
date of the notice. (ii) the Change Date, (iii) the old interest rate. (iv) the new interest rate. (v) the new monthly
payment amount, (vi) the Cttrrent Index and the date it was publishcd, (vir') the method of calculating the change
in monthly payment amourn. and (viitj any other information which may be required by law from time to time.

iG) Efl'ective Date of Changm

A new interestratecalculated in accordaneewith paragraphs (C) and (`D) ofthis Rider will becomccffective
on the Change Date. Borrowu shall make a payment in the new monthly amount beginning on the first payment
date which occurs at least 25 days after Lcnder has given Borrower the notice of changes required by paragraph
(F) of this Rider. Borrower shall have no obligation to pay any increase in the monthly payment amount
caicalatedinacccrdance withparagraph (E)ofthis Riderl'orany paymentdateoccun'inglessthanl$daysafter
Lender has given the required notice. if the monthly payment amount calculated in accordance with paragraph
(E) of this Rlder decreased, but Lender failed to give timely notice cf the decrease and Borrower made any
monthly payment manuals exceeding the payment amount which should have been stated in a timely notice, lltcn
Borrower has the option to either (i) demand the rett.tm to Borrower of atty excess payment, with interest thereon
at the Note rate (a rate equal to the interest rate which should have been stated in a timer noticc). or (ii) request
that any excess payment, with interest thereon at the Note ratc. be applied as payment of principal Lentler's
obligation to retum any excess payment with interest on demand is not assignable even if the Note is otherwise
assigned before the demand for return is made.

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BY SIGNING BELOW. Borrower accepts and agrees to the terms and covenants contained in this

Adjustahlc Rale Rid.er.
MM own
CUT 0 HA L -Borrower

(5¢€|)

~ Borrower

 

 

 

(Sm\)

- Borrower

 

(S¢al)

- Borrower

 

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PAUL T HARDIN
HENDRICKS CUUNTY RECURDER
01/09/2009 OB:OB:BZAM

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CORPORATION ASSIGNMENT OF MBRTGAGE
OC

. ID#
Commitmem

 

 

 

 

 

 

For value received, the undersigned, MURTGAGE ELECTRONIC REGISTRATION SYSTEMS,
INC, AS NOMINEE FOR COUNTRYWIDE HOME LO N$, INC, 1595 SPRING HILL ROAD, SUITE
310, VIENNA, VA 22182 hereby grants, assigns and transfers to:

couNiRYwi t HnME LoANs IN . , n __ __

1800 |KPO CKNYUN ROKD. SIMI VK[[EY, CK 93063
All its interest under that certain Mortgage dated 5/24/02, executed bz: SCOTT
D HALL Mortgagor as per MDRTGAGE recorded as Instrument No. 2002000182 0 on
5/31/02 in Boo 337 Page 2254 of official records in the County Recorder’s
Office of HENDRICKS County INDIANA. .

The Trustee is CTC Real Estate Services.
las Earcel = 021-203411-487012, HENDRICKS COUNTY TREASURER
Original Mort§age $121,891.00
598 GADSEN D . PLAINFIELD. IN 46168
To ether with the Note or Notes therein described or referred to. the money due
an to become due thereon with interest, and all rights accrued or to accrue
under said Mortgage.
Dated: 12/15/2008 MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC, AS NOMINEE

» FOR COUNTRYWIDE HOME LOANS, INC

By

 

Meli§sa/Taylor, Assista¢ ecretary .
State of California
County of Ventura

On_TLQ¢ZZéyf before me, K. Yaghobi , Notar _P personally appeared Melissa
Tay or, o proved to me‘on e asts of sa is . gr vevidence to e the
person(s) whose name(s) is/are subscribed to the wit in instrument and
acknowledged to me that he/she/they executed the same in his/her their

authorize capacity(ies), and that by his/her/their signature§s) on the
instrument the person(s), or the entity upon behalf of which tne person(s}
acted, executed the instrument.

I certify under_PENALTY OF PERJURY under the laws of the State of California
that the foregoing paragraph is true and correct.

witness my hand and official seal.

 

 

  

Si`gnature: K Y%hb\_ C"\ `y_, """ K‘;A‘G;‘$B*l *****
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Recording reguested by AND `€§@gv; vmnma coumy l §'
When recorde mail to: ]_~W
COUNTRVWIDE HOME LOANS, INC
DOCUMENT PROCESSING Mail Code:
CA6-914-01-43
PO BOX 10423
VAN NUYS CA, 91499-6211
Atin; ASSIGNMENT unit
Phone#: (805) 577-4642 Ext: 4642

Prepared by: Kathie Tepoxtecatl

"I-affirm, under the enalties ton
perjury, that l have' aken reasonable
Care to,redact each Social Security ,
gumber in this document, unless required
y aw."

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THERESA D LYNCH
HENDRICKS COUNTY RECORDER
01/22/2013 l2:46:46PM

Recording requested by

And when recorded mail to:
Grantee`s mailing address:
Marinosci Law Group, P.C.

 

21 10 North Calumet Avenue

Valparaiso, IN 463 83

File No.

!M
Snace above this line for Recorder`s use 0an

IMPORTANT NOTICE

After having been recorded, this Assignment should be kept With the Note and Mortgage hereby

assigned

ASSIGNMENT OF MORTGAGE

FOR VALUE RECEIVED, the undersigned hereby grants, assigns, and transfers to BANK OF
AMERICA, N.A., 7105 Corporate Drive, PTX_B_209, Plano, Texas 75024, all beneficial interest
under that certain Mortgage in the original amount of $121,891.00, dated May 24, 2002,
executed by SCOTT D. HALL, to secure certain obligations in favor of Mortgage Electronic
Registration Systems, Inc., as nominee for Countrywide Home Loans, Inc., as beneficiary,
recorded May 31, 2002, as Instrument No.: 200200018220, and further assigned by assignment
to Countrywide Home Loans, Inc., recorded January 9, 2009 as Instrument No.: 200900364,
and further assigned by assignment to Countrywide Home Loans Servicing, L.P., recorded
February 26, 2009 as Instrument No.: 200904472, and re-recorded April 6, 2009 as
Instrument No.: 200908140 and further assigned by assignment to BAC Home Loans
Servicing, L.P. f/k/a Countrywide Home Loans Servicing, L.P. , recorded March 9, 2010 as
Instrument No.: 201004486 in the office records in the Off`ice of the Recorder of Hendricks
County, Indiana.

TOGETHER with the note or notes therein described and secured thereby, the money due and to

become due thereon, With interest, and all rights accrued or to accrue under said Mortgage
including the right to have reconveyed, in Whole or in part the real property described therein.

5987 Gadsen Drive , Plainfleld , IN 46168

 

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Dated: éa&szJO/JF BAC Home Loans Servicing, L.P. f/k/a

Countrywide Home Loans Servicing, L.P.
ems %M
STATE OF )
) SS:

COUNTY OF Q£L@{_ )

On é€£“ gf,£§¢ ZOLJ' , before me, ¢é"rz_'/,¢»/ 19 - @e»/?$;J'
//p 775 r~ g, /’¢/ // c , (Insert Name and Title of Officer) personally

appeared 01 ` who proved to me on the basis of satisfactory
evidence to be the person(s whose name(s@are subscribed to the within instrument and
acknowledged to me tha she/they executed the same in®her/their authorized capacity(ies),
and that by @her/their signature(s) on the instrument the person(s), or the entity upon behalf or
which the person(s) acted, executed the instrument

 
 

By:

 
 

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. T'.#$.~/F"
I certify under PENALTY OF PERJURY under the laws of the State o that the
foregoing paragraph is true and correct. z

WITNESS my hand and official seal.
Z..§,, /. <é,»z;_»
Notary Public
(Seal)
/ »/ /§7 - @€'775»)

Printed amc
I affirm under the penalties for perjury that I have taken reasonable care to redact each social
security number in this document unless required by law.
David M. Bengs

This instrument prepared by: David M. Bengs, Esq., 2110 N. Calumet Avenue, Valparaiso, IN
463 83; Telephone: (219) 462-5104

EVElVN A. DENl’ON
Notary Public, State of Texas

5987 Gadsen Drive , Plainfield , IN 46168 ,‘-_ ', My commission Expires
' ~ Mcl¢h l7, 2013

 

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. Hendricks County Recorder IN
Recorded as Presen ted

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Prepared By and Rerum To:
Heather Neal
Collateral Departrnenr
Meridian Asset Services, Inc.
780 94"‘ Avenue N., Suite 102
St. Petersburg, FI.. 33702

' (727) 497-4650

Loan No:
Svcr Ln No:

FOR GOOD AND VALUABLE CONSIDERATION, the sufficiency of which is hereby acknowledged, the
undersigned, BA_NK OF AMERICA, N.'A., whose address is 2505 W. _Cl-IANDLER BLVD., BUILD_ING D,
CHANDLER, AZ 85224, (ASSIGNOR), does hereby grant, assign and transfer to CHRISTIANA TRUST, A
DlVISION OF WILMINGTON SAVlNGS FUND SOCIETY, FSB, NOT IN ITS INDWIDUAL CAPACITY
`BUT AS TRUSTEE OF ARLP TRUST 2, whose address is C/O ALTISOURCE ASSET MANAGEMENT

' CORPORAT|ON, 36C STRAND STREET, CI-IRISTIANSTED, USVI 00820, (ASSIGNEE), its successors,
transferees and assigns forever, ali beneficial interest under that certain mortgage_, together with the certain note(s)
described therein with all interest, all liens, and any rights due or to become due thereon. `

Space above for Recorder’s use

   

'ASSIGNMENT oF MoRTGAGE

Date ofMortgage: 05/24/2002

Original Loan Amount: 5121,891.00

Executed by (Borrower(s)): SCOTT D HALL

Original Lender: MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC., AS NOMINEE F_OR
COUNTRYWIDE HOME L(_JANS, INC., ITS SUCCESSORS AND ASSIGNS

Filed of Record: ln Mortgage Bookaiber/Volume 337, Page 2254,

Documentf|nstrument No: 200200018_220` in the Recording District of HENDRICKS, IN, Recorded on 05!31/2002.

Property more commonly described as: 5987 GADSEN'DR, FLAINFIELD, INDIANA 46168-7532

iN Wl'l`NESS WHEREO.F, the undersigned by its duly elected officers and pursuant to proper authority of its board
of directors has duly executed, sealed, acknowledged and delivered'this assignment

sit ahs l 2013-

BANKO A 'ER A,N.A_

 

/

By: "" JuiloEsirada ` Witness Name: n Ja ' f _
Titie: Vioo Presldent _ `

 

 

 

 

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A NOTARV PUBLIC_ OR O'THER OFFICER COMPLE_TING THIS CERTIFICATB VER_IFIES ONLY THE IDEN'I`ITY OF_
THE INDWIDUAL WHO SIGNED THE DOCUMEN'I' TO WHICH THIS CERT|FlCATE IS ATI`ACHBD, AND NOT THE
TRUTHFULNESS, ACGURACV, OR VALlDlTY OF THAT DOCUMENT
State of FLOH\UA
County of - HR,LSBORQUGH

On rze,§éf/ [’Q . , before me Md S m aNotary Public, personally
appe Julb alfalfa Vlca Pres!dent of/for BANK OF

AMER!CA, N.A. to me, or who proved to me on the basis of satisfach evidence to be the
person(s) whose name s l are bscribed to the~ within instrument ar;)d@iowledged to me tha she/they

l

 

 

 

 

 
   

executed the same i _ r/their authorized capacity(ies), and that b erltheir signature(s) e instrument
the person(s), or the - upon behalf ofwh'ich the person(s|;'aated ted the instrument l certify under
PENALTY OF PER.TURY under the laws of the State of b&iat the foregoing paragraph' is true and
correct I further certify signed, sealed,'attested and delivered this' '

 

document as a voluntary act in my presence.

 

 

 

 

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(N<>lary Name): David 8 _T_ ` My m md
My commission expires:
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Theresa Lynch

Hendricks County Recorder IN
Recorded as Presented

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Prepared By and Recum To: _
Paul Pugzlys `

Collateral Department

Meridian Asset Services, Inc.

3201 34th Street Sou¢h, Suite 310

St. Pevexsburg, FL 3371 l

(727) 497-4650

 

Space above for Recorder's use

Loan No .
Svcr' Ln No: , .
ASSIGNN.\ENT OF MORTGAGE

FOR GOOD AND VALUABLB CONSIDERATION, the sumeiency of which is hereby aeknowledged, the
undersigned, CHRISTIA.NA 'I'RUST, A DIVISION OF WILMINGTON SAVINGS FUND SOCIETY, FSB,
NOT IN ITS lNDlVlDUAL CAPAC!TY BUT AS 'I'RUS'['EE OF ARLP TRUST 2, whose address is C/O
AL'I'ISOURCE ASSET MANAGEMENT CORPORATION, 36€ STRAND STREET, CBRISTIANSTED,
USVl 00820, (ASSIGNOR). does hereby gang assign and transfer to US BANK NATIONAL ASSOCIATION
AS LEGAL TlTLE TRUSTEE FOR TRUMAN 2016 SC6 TITLE TRUST, whose address is U.S. BANK
CORPORATE TRUST SERVICES, DOCUMENT CUSTODY SERVICES, 1133 RANKIN STR.EET, SU'ITE
100, ST. l’AUL, MN 55116, EP-MN-TMZD, (ASSIGNEE). its suecessors, transferees and assigns forever, all
beneficial interest under that certain mcrtgage, together with die certain note(s) described therein with all interest, all
liens, and any rights due or to become due thereon. -

Date of Mortgage: 5/24/2002
Original Loan A.mount: 8121,891.00
Executed by (Borrower(s)): SCOTT D HALL
Original Lender: MORTGAGE ELECTRONIC REG!STRAT!ON SYSTEMS, INC., AS NOMINEE FOR
COUNTR¥WIDE HOME LOANS, INC., ITS SUCCESSORS AND ASSIGNS
` Filed ofRecord: Io Mortgage Bcoleiber/Volume 337, Page 2254,
Document/Instrument No: 200200018220 in the Recording District of HENDR.[CKS, IN, Recorded on 513 1I2002.

Property more commonly described 881 5987 GADSEN DR, PLA[NFIELD, INDIANA 46168-7532

IN VVI‘I'N'BSS WHEREOF, the undersigned by its duly elected oflieers and pursuant to proper authority of im bo‘ard
of directors has duly executed, sealed, acknowledged and delivered this assignment.

Date: §'»7?‘/7

CHRISTIANA TRUST, A. DIVISION OF WILMINGTON SAVI.NGS FUND SOCIETY, FSB, NOT lN ITS
INDIVIDUAL CAPACI'I'Y BUT AS TRUSTEE OF ARLI' TRUST 2, BY RlDIAN ASSET SERVICES,
lNC., ITS ATTORNEY-lN-FACT .

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By: ~”'THE" "i"" '

Title:VlCE PRESID "'T

POA was recorded in Hendricks Cou_nty. IN
312/201 7 lnst#201704956

 

      

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A NOTARY PUBLIC OR O'I'HER OFFICBR COMPLFI'ING TH]S CER'I'I'FICA'I'E V'ERIFIES O'NLY THE IDBNTI'IY OF
THE INDIVIDUAL WHO SIG`NED THE DOCUNIENT TO WHICH THIS CERTIFICATE IS ATI`ACH'BD, AND NOlT THE
TRU'I'HFULNESS, ACCURACY, OR VALIDITY OF THAT DOCUMENT

 

 

 

State of FLORIDA
County of PINELLAS

On QCg 3 g £ l q , before me, JAMIE OLGIA, a Notary Public, personally appeared MA'I'I`H.EW
KRUE CE PRESIDENT 0!7for MERIDIAN ASSET SERV»ICES, INC., AS ATTORNEY-IN-FACT
FOR CHRISTI.ANA TRUST, A DIVISION OF WILMlNGTON SAVINGS FUND SOCIE'I'Y, FSB, NOT IN
ITS IND[VIDUAL CAPACI'I'Y BUT AS TRUSTEE OF ARLP TRUST 2, personally known to me, or who
proved w me on the basis of satisfactory evidence to be the person(s) whose name(s) ivan subscribed to the within
instrument and aclmowledged to me that helehe/they exech the same in his/her/their authorized capacity(ies), and
that by his/hm'/their signature(s) on the instrument the person(a), or the entity upon behalf of which the person(s)
acted, executed the instrument I certify under PENALTY OF PERJURY under the laws ofthc State of FLORlDA
that the foregoing paragraph is true and correct. I further certify MA'I"I'HBW KRUEGER, signed, scalcd, attested
and delivered this document as a voluntary oct in my presence

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Frepsred by:M.STARR '" ’

 

 

M“"istate ADJUSTABLE RATE NOTE
#=_ _
MA¥ 24, 2002
[Date]
5987 GADSEN DR, PLAINFIELD, IN 46168-7532
[Property Address]
1. PARTIES

"Borrower" means each person signing at the end of this Note, and the person’s successors and assigns. "Lender" means
COUNTR¥wIDE HOME LOANS. INC.
and its successors and assigns.

2. BORROWER’S PROMISE TO PAY; INTEREST

In return for a loan received from Lender, Borrower promises to pay the principal sum of
ONE HUNDRED TNENTY ONE THOUSAND EIGHT HUNDRED NINETY ONE and 00/100
Dollars (U.S. $ 121 , 891 . 00 ), plus interest1 to the order of Lender. Interest will be charged on unpaid principal, from
the date of disbursement of the loan proceeds by Lender, at a rate of FIVE & SEVEN- EIGHTHS percent
( 5 . 875 %) per year until the full amount of principal has been paid. The interest rate may change in accordance with
Paragraph S(C) of this Note.

3. PROMISE TO PAY SECURED

Bonower’s promise to pay is secured by a mortgage, deed of trust or similar security instrument that is dated the same date
as this Note and called the "Secuxity Instrument." That Security Instrument protects the Lender from losses which might result if
Borrower defaults under this Note.

4. MANNER OF PAYMENT
(A) Time
Borrower shall make a payment of principal and interest to Lender on the t“1rst day of each month beginning on
Jul y 01 , 2002 .Any principal and interest remaining on the first day of June 1 , 2032 , will bedue on
that datc, which is called the "Maturity Date."
(B) Place
Payment shall be made at
4500 Park Granada, Cal abasas, CA 91302- 1613
or at such other place as Lender may designate in writing by notice to Borrower.
(C) Amount
Initially, each monthly payment of principal and interest will be in the amount of U.S. $ 721 . 03 .This
amount will be part of a larger monthly payment required by the Security Instrument that shall be applied to principal, interest
and other items in the order described in the Security Instrument. This amount may change in accordance with Paragraph S(E) of
this Note.

5. INTEREST RATE AND MON'I`HLY PAYMENT CHANGES
(A) Change Date
The interest rate may change on the first day of 0ctobet‘ , 2003 , and on that day of each succeeding year.
"Change Date" means each date on which the interest rate could change.
(`B) The Index
Beginning with the first Change Date, the interest rate will be based on an Index. "Index" means the weekly average
yield on United States Treasury Secun'lies adjusted to a constant maturity of one year, as made available by the Federal Reserve
Board. "Current Index" means the most recent Index figure available 30 days before the Change Date. If the Index (as defined
above) is no longer available, Lender will use as a new Index any index prescribed by the Secretary (as defined in Paragraph
7(B)). Lender will give Borrower notice of the new Index.
(C) Calculation of Interest Rate Changes
Beforc each Change Date, Lendcr will calculate a new interest rate by adding a margin of
TNO & THREE-0UARTERS percentage point(s) ( 2 . 750 %) 10 the Cutrent Index and rounding the sum to the
nearest one-eighth of one percentage point (0.125%). Subject to the limits stated in Paragraph S(D) of this Note, this rounded
amount will be the new interest rate until the next Change Date.

Page 1 013 FHA Multlstate Adjustable Rate Note - /95
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(D) ijits on Interest Rate Changes
The existing interest rate will never increase or decrease by more than one percentage point (1.0%) on any single
Change Date. The interest rate will never be more titan five percentage points (5.0%) higher or lower than the initial interest rate
stated in Paragraph 2 of this Note.
(E) Calculation of Payment Change
If the interest rate changes on a Change Date, Lender will calculate the amount of monthly payment of principal and
interest which would be necessary to repay the unpaid principal balance in full at the Maturity Date at the new interest rate
through substantially equal payments. In making such calculation, lender will use the unpaid principal balance which would be
owed on the Change Date if there had been no default in payment on the Note, reduced by the amount of any prepayments to
principal The result of this calculation will be the amount of the new monthly payment of principal and interest
(F) Notice of Changes
Lender will give notice to Borrower of any change in the interest rate and monthly payment amount The notice must
be given at least 25 days before the new monthly payment amount is due, and must set forth (i) the date of the nolice, (ii) the
Change Date, (iii) the old interest rate, (iv) the new interest rate, (v) the new monthly payment amount, (vi) the Current Index and
the date it was published, (vii) the method of calculating the change in monthly payment amount, and (viii) any other information
which may be required by law from time to time.
(G) El'fective Date of Changes
A new interest rate calculated in accordance with paragraphs 5(C) and 5(D) of this Note will become effective on the
Change Date. Borrower shall make a payment in the new monthly amount beginning on the first payment date which occurs at
least 25 days after Lender has given Borrower the notice of changes required by Paragraph 5(F) of this Note. Borrower shall have
no obligation to pay any increase in the monthly payment amount calculated in accordance with Paragraph 5(E) of this Note for
any payment date occurring less than 25 days after lender has given the required notice. If the monthly payment amount
calculated in accordance with Paragraph 5(E) of this Note decreased, but Lender failed to give timely notice of the decrease and
Borrower made any monthly payment amounts exceeding the payment amount which should have been stated in a timely notice,
then Borrower has the option to either (i) demand the return to Borrower of any excess payment, with interest thereon at the Note
rate (a rate equal to the interest rate which should have been stated in a timely notice), or (ii) request that any excess payman
with interest thereon at the Note rate, be applied as payment of principal Lender’s obligation to return any excess payment with
interest on demand is not assignable even if this Note is otherwise assigned before the demand for return is made.

6. BORROWER’S RIGHT TO PREPAY

Borrower has the right to pay the debt evidenced by this Note, in whole or in part, without charge or penalty, on the first
day of any month. Lender shall accept prepayment on other days provided that borrower pays interest on the amount prepaid for
the remainder of the month to the extent required by Lender and permitted by regulations of the Secretary. lf Borrower makes a
partial prepayment, there will be no changes in the due date or iii the amount of the monthly payment unless Lender agrees in
writing to those changes.

7. BORROWER’S FAILURE TO PAY
(A) Late Charge for Overdue Paymeots
If Lender has not received the full monthly payment required by the Security Instrument, as described in Paragraph
4(C) of this Note, by the end of fifteen calendar days after the payment is due, Lender may collect a late charge in the amount of
FOU R percent ( 4 . 0 00 %) of the overdue amount of each payment.
(B) Default
If Borrower defaults by failing to pay in full any monthly payment, then Lender may, except as limited by regulations
of the Secretary in the case of payment defaults, require immediate payment in full of the principal balance remaining due and all
accrued interest Lender may choose not to exercise this option without waiving its rights in the event of any subsequent default.
This Note does not authorize acceleration when not pemiitred by HUD regulations As used in this Note, "Secretary" means the
Secretary of Housing and Urban Development or his or her designee.
(C) Paymeiit of Costs and Expenses
lf Lender has required immediate payment in full, as described above, Lender may require Borrower to pay costs and
expenses including reasonable and customary anomeys’ fees for enforcing this Note to the extent not prohibited by applicable
law. Such fees and costs shall bear interest from the date of disbursement at the same rate as the principal of this Note.

8. WAIVERS

Borrower and any other person who has obligations under this Note waive the rights of presentment and notice of dishonor.
"Presentinent" means the right to require Lender to demand payment of amounts due. "Notice of dishonor" means the right to
require Lender to give notice to other persons that amounts due have not been paid.

9. GIVING OF NOTICES

Unless applicable law requires a different method, any notice that must be given to Borrower under this Note will be given
by delivering it or by mailing it by first class mail to Borrower at the property address above or at a different address if Borrower
has given Lender a notice of Boirower’s different address.

Any notice that must be given to Lender under this Note will be given by first class mail to Lender at the address stated in
Paragraph 4(B) or at a different address if Borrower is given a notice of that different address.

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10. OBLIGATIONS OF PERSONS UNDER THIS NOTE

If more titan one person signs this Note, each person is fully and personally obligated to keep all of the promises made in
this Note, including the promise to pay the full amount owed. Any person who is a guarantor, surety or endorser of this Note is
also obligated to do these things. Any person who takes over these obligations, including the obligations of a guarantor, surety or
endorser of this Note, is also obligated to keep all of the promises made in this Note, Lender may enforce its rights under this
Note against each person individually or against all signatories together. Any one person signing this Note may be required to pay
all of the amounts owed under this Note,

YOU AFiE NOT OBL|GATED TO PAY ANY MONEY UNLESS YOU SlGN TH|S CONTRACT AND RETURN
lT TO THE SELLER / LENDER.

BY SIGNH\IG BELOW, Borrower accepts and agrees to the terms and covenants contained in this Note.

 

 

 

 

 

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Assistant Secretary Assistant Secretary

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B die Note, of the same date and secured bytlze Mortgage, which covers the real'aml pe_rsoria_| property described in 'I`h_e
Mortgage anc__l _delin_ed therein as the "Pr‘opamf, located et 593? Gadse.'_i Dr,- P|ainflal`d, |f*_e' 4515_8..

Pur_suao_t to our mutual agreement to modify your Note and Mortgage and in oonsldératlon of the promises conditions
and terms set forth below the parties agree as follows:

‘1 .in order for tile terms of this mlecatlon to become cir'ectwr: you promtse to ma__l_re art initial down payment (_'"Down
Payrneot_"l of §1, 052. 35 orr or before 71'1)`2014 and Two {2] equal monthly payments of principal and interest in the
amount of $ 858. 07 and any escrowed amount as outlined in section 3 i:>o|oi.»ir_f to Ucwon [_"Trl:i| Perl__od"} beginning-
on _BJIIZ014. and thereafter due ._orl same day of each succeeding nlorl`l:h.

2 Yotr agree than at the end of the Trial P_erl__o_d, tho- new principal balance due under your modified Noile and die
Mortgage will be 5150,090 90. .Upon modll'icatlori. your Note will beoorne contractually current; liowe\re_r,' fees and
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discretion to impose such requirement atany time upon unltt`en noticeto you

4 lf ..\iou successfully complete the Trlal Ferlod, your loan will automatically lle_ modified pursuant to` the torres or dlis
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.Acco`p`ta'nce aod application of late payments during the Trlal Period does not waive Uowen' s right to terminate the
'_i'ri_al Perlod nullle die _liriodificatlo`r_i or resume foreclosure or _oi.i'rer activities related to the delinquency of the loan
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escrowed amount as ootlined' in section 3 on the same day of _oach_ succeeding month until ali amounts owed under
the Note and Mod'r_f“rcaiion are paid lo fol_l.

5 tian Modl'rimtion, the annual rate of interest charged on line unpaid principal balance ofyour‘ loan will be converted
to a flir_e'd rate oi' EEIGOUG%. Thls_ `_rat`e will remain in effect until the maturity date of your loan 9,!1)'251'»'|_5.

This commurli_catiorl_ is from a oehtcoiloctorartemptlng to collect a debt any information obtained will be used for that
purpose |-_loweirer, if the debt _ls‘ in active hankroptcy or has been discharged enough l:lal'lkruptc"l_rl this communication is purely
provided to you foririlorniaciona| purposes only with regard to our secured lien on trie above referenced property it is not
intended as an attempt to collect a debt from you` personally

NMTSI'.|.'H_'J?'

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ocwen Loan- sewicing, L`L`c- 1551 Worthin_gton noa_cl, ste 100
www-.ocwen;com _ west_i'ali-n aeac`h, names
lielping Homeov`\»*`ner.¢-r's Whot We Doi ’“` -`l"_oil'_Free:'(SGG} 7_45~29_35

 

 

7 ll ll¢_'d\.l sell -yoor 'properl.\,', _refinance,_. or otherwise oaYoff.y_our`|oan d_urin`g'jthe`. 12 months following the clare=:of
Modi*_l`cation, the.Modification v`.’il|'be- voidable at the sole option of- chen and all amounts owed under"_the
obligations existing prior _t_o_ -tn'e`_ Moc|ifica`tio_n' will he due and owing.

8 1l'dl.l will comp!y with all other covenants, agreementa, and requirements`_of your Mortgage. including without
|lt_nit`a`tion, the covenants and agreements tca-make all payments of taxes, insurance pt_'emlu`n‘is;.asséssments, ostrow
:ter_ns-, i_rnpc'ur~._ds,'_and_all:oiher p_ayments'thac \,*n'u are obligated-ftc make under zito Mortgage except-as o_thennls_e.
..provided hercin. n

l.l'J

You .understa."d'and ag_ree_;hat:

a .l\!i the rights and remedies,_ stip_t.l_lations, and-conditions contained :': Yo_‘.'_r Mortgage 'eletlng_ to default in the
making cf payments under -'t`l_~.e Mortgage will-also apply`to default "'n the making of.the modified payments
-her_eunder. '

b 'All_ cove'nant_s, -agreements', Stipui_ation`s', and conditions-in tour Note and Mortgage wlll.remain-In full force.`and
-effect, except as_hereln' modified', and none of tiie-'r'ot_.'r obligations or'iiabiiitles:`onder your-"N ote and Mortgage
will he diminished or-releasod by any_provisiona-hereof, nor will this.l\greementjin any_. way lmp_alr-, dlminisn-, or
affect'any_' of (_J_cwen’s_"rights ..:n_der or remedies on -Y.o-_`rr`_l\lote`and Mortgage. whether.such rights-or remedies
arise`t}iere`-under or`-h\`; operation of`?|a\n_r.._ Ai_so_, all rigii_ts.of.recod_r_se'._to.whictr _L`_chea is `preoen`tlj entitled against
_eny_ _:i:'operty.o_r en\,f_ diner persons"ln anY_ t*'ra_\`;' obligated for, or liable on,.your Note and Mortgage-ore exnr€!`$s|y
"e_ser\rt't_l _hy-_chen._

c »f\r_v,r expenses`incurre"d in connection with the servicing=oF your loao_, but not _vet§'.;i'larg'ed ._to_ \;o_ur`- account a_g'.g_f
the date of tni§_ngr__eement-) mail be charged to vo;lraccount_after the_dat`e oftan Agreement..

-d' '¥\_lothln_g in this A`gt_jeer`nént Wl|l b"e dnclerstood or construed to tie a satisfaction or release in whole o`r in part of
.your'nlote and Mortgage

-.e. .ln-tha event-there foreclosure-is pending the foreclosure action will not be dismissed .How_ei_rer. Oc_wen will
take reasonable action-replace lt'on hold pe_nct_ing`\,lour.comp|etion of.`tlfe'TrEal.Perio'd.

'f 'Di.n'lng the Tria| _pe_riod,-_You_r loan \_.'.r`i_li continue to`oe`_delln'querit. his-a result-, late-fees'ma\; be charged and credit
reporong will continue pursuant to tim original terms of your-Note ' ' ' '

_g ‘l‘ou agree to make-and execute such other documents or- panam- _as maybe r_locess`a:$r cir-required to effectuate
the terms and conditions ot'-`tl"rl§ A_g_`ree`rner:`t '.':`hlch_, if approved and accepted by D'_cwon-, will bind and inure to
vour _l_‘.cirs, executors, admin i_strato'rs, `a_n'd 'assigns. n

h` ron understand that this agreement is legally binding-and that i_t affects \,»c_ur rights_.. Yon_ confirm that you'n'av.e
had the opportunity 'tci' "o't_at`ain, independent legal counsel concerning title Agz'ee_me_nt..and are-signing this"
)‘-igreeme'ntvoluntari!y and with full understanding of its_.c_ontent$-a`n'd _m`oaning, '

l Corrections and Clmlss.lons:-You agree.to`e>`_iccuter.such other and further documents as maybe reasonably
necessatv _to.`cdns;lmrnate-the' transactions contemplated h_er_ein-_or-to perfect-the liens and_`se`cl`.irlty interests
intend ed to secure _t_hc' payment of'the` ioan evidenced or th a Note,

fn .'5" z n 7

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Ni`cmg'_, l_-l.C

 

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Bendlane Ze_phl`r-

hammered-officer n HGV ll 5 m

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This communication l'; from_a debt collocto_r-at`_temot_ing'to collect-a `:debt; any information obtained w`il§_be used for that
porno`se. Howe\.-`cr, if the debt is in a_ctii.'e_bankruatcv or has"h'een discharged through bankruptcv`. this communication-is purely
Prdvi¢le_d. trt.vG'-i fur informational purposes only with regard to-our. secu Fed lien on the above referenced property. it is nor
ln_tended..as _an attempt to collect`a debt:fro_nr fyo`u personally

wilton-1352

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'§ " -; 'ocwen man Serv:ong,_LL-c- 1'661-Worrh_lng.ton Road,"$`ie 100
:O: -\"\"\¢‘\¢'W.QQWE'N=COM _ `W`ést pélrrl Bead'i,- _FL`3331[}9
§_-,. .... - '.-". _Hr’.l'plng Homeownors`lx Wth We D.ol. ".“ Toll F_lj_e_e: (80_0) 746~2935`
oowao "` `

sris!zoza"

`B`ALLooN ors`<`:i_-oau'_n_£
owen _
._Propertv.hddi'oss: 5937 _Gadseo Dr Plainfieici,_l|'il 46168

Tho.loan_ moul_lfi_cotion for which you have applied _coot`_a`ins`a bo|`loon:pr_o\;lsloo. `Thi`s means=ti'ral even if you m_a'l»:o all
'poymon`t.s fu`ll_'or`id on rim"e, the leon w`i`_li no: be poid:in full by-thc'fma_l=poymgnt dote. A single bai;oo'n'p`ayn":enf will be due
`and'pa'~,"ab_£_o in.'€on on 9;`1]'2040; provided tha:`al|-pavments are made iri-accordance with the loan terms-and the'lnte`rés: rita
does nor 'change.'\‘oo_r estimatod balloon oa\;_`mentarnoiint-i`s- 361,677'.'39 and will be due.I-'=_ a zingle payment on _9,1_1'}2£!40 for
the 'ont`irc-loan term.`The ha lioon.paymen:_rnay-\rqry depending on'you r payment h`_i`szory, and,_-il you have on adju'sta`b|é rate
mortgago, a_n\r'lntores`_t rate changes 'ci';al: occur du ring the life of the loan.

i\le:chr__\r Dr_:_won Loa'n Servicing; LLC nor any |'n_nd_e`r-'Lo which your :ioa'n. is't`rans¥er:'ed`or-assigned_ is under-any obligation to
r`m`ance the.amounr of the balloon _pavr'n¢nt. i_n .a_dd_iti'pn, -_:ne qa,ue of the re"a|rosrate.'seéo¢ing_thls ioan_ma~,_r change doring_the
-:orm of the loan. On` tho`claite tho.bal|oo_n povnjront-'bocomes due, the value iof'th'e _reo| ostat'E-`ma~,'r noc.bé §liff'icii:nt ro ser:ur"e
:_1 now loan in an 'arnoi.'-_r\t_oqual t_o th`_q_`~ balloon 'pa\;r_ner\t`._

lime have read the above-dl_sciosuro__and acknowledge receiving a copy by signing beiow.~

*Ail`lndi\ridi.lals' on the-title {e\_ron_ if not_‘a_ Borrower on tjin noto] must sign this agrcomo'ht._ lfihoro are marathon two title
holders to this property. ple'a`§e novo them-sign bolow.

l b 'J' 1
/“" -x,"/i’ool ‘T/.'/ *L'_/ , usz '-
-‘\'_f\.'-' ga --d.) `_ .

 

Borrow'r`:r"'$cott'D a=l` go_rm,_-.,c,

  

 

 

inv n a iii

Bonc__liane_Zephi_r _ .
-Sorvlci`ng Operati_ons Specialist

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This oommun:c_a:lon.ls from__a`_ c_.léb`t c_o_|iect,or. attorr'otiog to-cclloc`t o coot; en"§r information obtained will be l_.z_sod'ior'f.ha_t
purpos"n. How'o\:er,-_:f the debt is lo._ac.*.iu_-e bankruptcy or has _boc-n discharged through bankruptcy'this-con'lmunii:a*.io`n is purely
provided to.you for information.)i-purposos.only with regard to ouz.soi:ore_c_l lien o__n-the abovereferenced-property. lt ii not
in:_cnd_oi:i as_a_n-artcmp`t_ to ccl|c<`:t'a_dff_-bl; from you personally.

umw wing

